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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

FRANCINE ZYSK,

      Plaintiff,                               Case No. 5:18-cv-10639
                                               Hon. Robert H. Cleland
v                                              Mag. Judge Stephanie Dawkins Davis

THERESA M. BRENNAN, in her
individual and official capacities,
MIRIAM CAVANAUGH, in her
individual and official capacities,

      Defendants.

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                 PLAINTIFF’S RESPONSE TO
          DEFENDANT BRENNAN’S MOTION TO STRIKE
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                                   ISSUE PRESENTED

I. Whether the Court should strike allegations in Plaintiff’s complaint that are:

        1. accurate;
        2. directly related to controversy at issue or place the allegations in context; and
        3. not significantly prejudicial to Defendant?

Defendant answers:         “Yes”

Plaintiff answers:         “No”




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                           MOST APPROPRIATE AUTHORITY


Sixth Circuit

Brown & Williamson Tobacco Corp. v. U.S., 201 F.2d 819, 822
   (6th Cir. 1953) ....................................................................................................2, 3

Operating Engineers Local 324 Health Care Plan v. G&W Const. Co.,
  783 F.3d 1045, 1050 (6th Cir. 2015) ..................................................................... 2


Federal Rules

Fed. R. Civ. P. 12(f) ...........................................................................................1, 2, 3




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                                      INDEX OF AUTHORITIES

                                                    Sixth Circuit
Court of Appeals
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   (6th Cir. 1953) ....................................................................................................2, 3
Morris v. Washington Metropolitan Area Transit, 702 F.2d 1037 (1983) ................ 9
Operating Engineers Local 324 Health Care Plan v. G&W Const. Co.,
  783 F.3d 1045, 1050 (6th Cir. 2015) ..................................................................... 2

District Courts
Jackson v. Broughton, 2010 WL 2993993 (E.D. Mich.) ........................................... 3
Traverse Bay Bands of Odawa Indians v. Snyder, 194 F. Supp. 3d 648, 658 (W.D.
   2016) .....................................................................................................................2

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Federal Rules
Fed. R. Civ. P. 12(f) ...........................................................................................1, 2, 3


Other
Wright & Miller, Federal Practice and Procedure: Civil 3d §§ 1380 and 1381 1 ,2 ,3


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I.    Introduction
      Defendant’s statement of the standard applicable to motions to strike is a far

cry from the actual standard. Defendant omits what Sixth Circuit precedent, as well

as the Wright & Miller treatise, make clear:

          1. motions to strike are viewed with disfavor and are not frequently
             granted;
          2. such motions should be denied unless the challenged allegations have
             no possible relation to the controversy and may cause significant
             prejudice to a party;
          3. a motion will be denied where the judge believes no prejudice could
             result from the challenged allegations – even where the challenging
             allegations literally fall within one or more categories set forth in Rule
             12(f); and
          4. such motions should also be denied if the allegations serve to achieve
             a better understanding of the plaintiff’s claim.
      The challenged allegations, Defendant’s purported basis for striking them, as

well as Plaintiff’s rebuttal are set forth below. The rebuttals will be confined to the

relevance of, and in limited instances, the factual support for the allegations when

challenged by Defendant.

      In view of the Courts’ tendencies to deny motions based on alleged technical

violations of Fed. R. Civ. P. 12(f) absent prejudice to the moving party, Plaintiff will

omit discussion of Defendant’s objections that the allegations are superfluous,

scandalous, not concise or not short plain statements.

      Plaintiff will address prejudice here by noting that most if not all of the

allegations in the complaint have been a matter of public record for some time. They
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were also extensively reported in the media in 2017. Further, if Defendant is required

to respond to the allegations, the Court will find that the allegations are in fact true.

              Finally, Defendant’s objection that the allegations are “repugnant” or

“scandalous” is not well founded. It is Defendant’s behavior that is repugnant and

scandalous. Accurate description of that conduct does not violate the Federal Rules

or support a motion to strike.

II.           Standard for Granting Motion to Strike Under Fed. R.
              Civ. P. 12(f)
              As noted in Little Traverse Bay Bands of Odawa Indians v. Snyder, 194 F.

Supp. 3d 648, 658 (W.D. 2016):

              “Motions to strike are viewed with disfavor and are not frequently
              granted.” Operating Engineers Local 324 Health Care Plan v. G & W
              Const. Co., 783 F.3d 1045, 1050 (6th Cir.2015). “The motion to strike
              should be granted only when the pleading to be stricken has no possible
              relation to the controversy.” Brown & Williamson Tobacco Corp. v.
              United States, 201 F.2d 819, 822 (6th Cir.1953). (emphasis added)
              Magistrate Judge Carmody, in Sherrills v. Beison, 2005 WL 1711132, *1,

(W.D. Mich. 2005), draws on the Wright & Miller treatise to articulate the standard:

              Federal case law establishes that a motion to strike “should be denied
              unless the challenged allegations have no possible relation or logical
              connection to the subject matter of the controversy and may cause some
              form of significant prejudice to one or more of the parties to the
              action.” Id. (emphasis added)

              “The Rule 12(f) motion to strike allegedly offensive matter also will be
              denied if the allegations might serve to achieve a better
              understanding of the plaintiff’s claim for relief or perform some other
              useful purpose in promoting the just and efficient disposition of


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              litigation.” Id. Furthermore, for the moving party to succeed on a
              motion to strike it must “comply with the requirement in Rule 7(b) that
              motions state with particularity the grounds therefor and set forth the
              nature of relief or type of order sought.” Wright & Miller, Federal
              Practice and Procedure: Civil 3d § 1380. “Thus, it is not surprising that
              a motion to strike frequently has been denied when the court
              believes that no prejudice could result from the challenged
              allegations, even though the offending matter literally is within one
              or more of the categories set forth in Rule 12(f).” Wright & Miller,
              Federal Practice and Procedure: Civil 3d § 1381. (emphasis added)

              Finally, this Court stated the standard in Jackson v. Broughton, 2010 WL

2993993 (E.D. Mich.):

              It is “well established that the action of striking a pleading should be
              sparingly used by the courts. It is a drastic remedy to be resorted to only
              when required for the purposes of justice.” Woods v. Northport Pub.
              Sch., No. 09–243, 2010 WL 2232263, at *1 (W.D. Mich. June 3, 2010)
              (quoting Brown & Williamson Tobacco Corp. v. United States, 201
              F.2d 819, 822 (6th Cir.1953)). “The motion to strike should be granted
              only when the pleading to be stricken has no possible relation to the
              controversy.” Rock Holdings, Inc., et al. v. Certain Underwriters at
              Lloyd’s London, No. 09–11599, 2009 WL 2475400, at *3 (E.D.Mich.
              Aug.11, 2009) (quoting Brown & Williamson, 201 F.2d at 822))
              (emphasis added). A district court should not strike a matter “unless the
              court can confidently conclude that the portion of the pleading to which
              the motion is addressed is redundant or is both irrelevant to the subject
              matter of the litigation and prejudicial to the objecting party.” Aqua
              Bay Concepts, Inc. v. Gross Pointe Bd. Of Realtors, No. 91–74819,
              1992 WL 350275, at *2 (E.D.Mich. May 7, 1992) (emphasis added)
              (quoting Fed. Nat’l Mortgage Ass’n v. Cob et al., 738 F.Supp. 1220,
              1224 (N.D.Ind.1990)). (emphasis in original)
              Defendant Brennan cannot meet the standard as properly stated above.

III.          Requests for Striking
              1.   In this action Plaintiff alleges First Amendment retaliation under
                   42 U.S.C. § 1983 based on protected activity, including her


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                   subpoenaed truthful testimony in two depositions in 53rd District
                   Judge Theresa M. Brennan’s (“Brennan”) divorce proceedings;
                   the testimony related to Brennan’s infidelities and other
                   scandalous behavior, particularly as they relate to presiding
                   over a double murder trial where the chief prosecution witness
                   was her paramour, Michigan State Police (“MSP”) Lieutenant
                   Sean Furlong. (Where Defendant requests striking only a portion
                   of a paragraph, Plaintiff will bold the language Defendant is
                   requesting to be stricken.)
Basis for Request No. 1: Scandalous.
Rebuttal: The allegations accurately state Plaintiff’s claim.


              11. Plaintiff began as a probation officer and, because of her
                  exemplary performance (see Exhibit A), has risen through the
                  ranks to become the 53rd District Court Administrator.
              12. The Michigan Supreme Court has allowed the Livingston County
                  Circuit Court, the Livingston County Probate Court and the 53rd
                  District Court (collectively “the Courts”) to combine operations
                  for the purpose of achieving efficiencies and better serve the
                  public.
              13. The Chief Judge, in addition to judicial duties, oversees the Courts.
              14. Judge David Reader served as Chief Judge until Judge Miriam
                  Cavanaugh succeeded him effective January 1, 2018.
              15. Brennan’s divorce from local businessman Donald Root was a
                  cause célèbre because discovery uncovered overwhelming
                  evidence that Brennan:
                    a.     engaged in extra-marital affairs with at least two
                           individuals, including MSP Lieutenant Sean Furlong;
                    b.     presided over the highly publicized double murder trial of
                           Jerome Walter Kowalski in January 2013 while having an
                           affair with Furlong, who was the chief prosecution witness
                           during that trial; Brennan and Furlong deny this;
                    c.     abused her office by utilizing court employees for her
                           personal benefit on County time; and




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                    d.     engaged in scandalous behavior such as reading a book to
                           subordinates about fellatio, Blow Him Away, drinking in
                           her chambers and rushing litigants and court personnel to
                           conclude proceedings by 3:00 p.m. so that she could have
                           regular sexual encounters with her paramours at the
                           marital home.
Basis for Request No. 2: Superfluous; unrelated; not a short plain statement.
Rebuttal: Paragraphs 11-14 are appropriate background facts which make the claim
easier to understand. Paragraph 15 is literally true and proves that Plaintiff’s speech
relates to matter of public concern. Further, proof of the allegation will make it more
likely that Defendant retaliated against Plaintiff for confirming these facts.


              17. Judge Cavanaugh has been named as a defendant because she has
                  retaliated against Plaintiff for complaining about Brennan’s
                  retaliation, challenging the Courts to address Brennan’s
                  bullying of court employees and speaking out about the Village
                  of Fowlerville Police Chief’s lack of fitness for public office.
                  (non-bolded language included for context)
                                     BRENNAN AS BULLY
              18. Brennan is a bully of epic proportions; she intimidates, terrorizes
                  actually, court employees, litigants and attorneys.
              19. Carol Lathrop-Roberts brought a motion to disqualify Brennan
                  from hearing a paternity action after she briefly jailed Lathrop-
                  Roberts on June 21, 2017 for objecting to Brennan’s scheduling a
                  trial on short notice and in violation of the court rule.
              20. After Brennan denied the motion, then Chief Judge David Reader
                  heard the appeal and concluded that Brennan should not have set
                  the paternity case for trial on such short notice and before the
                  expiration of the 14-day period to object to Brennan’s order.
              21. Judge Reader, noting his review of hundreds of hours of Brennan’s
                  behavior, stated that Brennan’s courtroom demeanor – including
                  hostility to attorneys and litigants, berating others, and ignorance
                  of the law – is an “embarrassment” to the bench.
              22. Judge Reader denied Ms. Lathrop-Roberts’s appeal but noted that
                  Brennan “routinely … violates the due process rights of the
                  litigants before her,” but ruled “this demeanor is not the subject or


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                   basis for disqualification … The judge’s legal rulings, no matter
                   how bad they are, how offensive, are not matters for disqualifying
                   the judge … The judge did not know the law that day. … This is
                   the standard of operating procedure for Judge Brennan …”
              23. Judge Reader also observed that:
                   a.   “In my capacity as chief judge I’ve had numerous motions to
                        disqualify the judge in cases, too many, too many,” “…
                        Honestly, Miss Lathrop-Roberts, viewing your hearing … on
                        June 21, to me, it’s like Bill Murray’s ‘Ground Hog Day’
                        movie – the same conduct, the same demeanor, the same
                        rulings and the same actions over and over, just different
                        lawyers and different litigants. …”
                   b.   “She constantly, constantly interjects herself into the
                        proceedings. She cuts off litigants and attorneys as a matter
                        of course. She makes either erroneous rulings on the law or
                        ignores the law completely.”
                   c.   “She routinely, routinely intimidates attorneys and litigants.
                        She will tell you to sit down and shut up. Not just you Miss
                        Roberts, but multiple attorneys.”
                   d.   “The fact that this conduct is repeated over and over again to
                        multiple attorneys, to multiple litigants I find to be alarming
                        and appalling. It is an embarrassment to the other fine judges
                        in this County and this state.”
              24. Ms. Lathrop-Roberts told Judge Reader that Brennan’s behavior
                  “scares the living daylights out of my clients. They run like
                  lemmings to the sea.”
              25. As noted above, Ms. Lathrop-Roberts’ clients are not the only ones
                  terrified by Brennan – most attorneys and court employees are as
                  well.
              26. Three individuals that are not terrified of Brennan are Judge David
                  Reader, local attorney Thomas Kizer and Plaintiff Francine Zysk.
Basis for Request No. 3: Repugnant; unrelated to action; not concise.
Rebuttal: These allegations are relevant because Plaintiff testified about
Defendant’s “judicial and extra-curricular activities” and they accurately portray
Defendant’s temperament and demeanor. See paragraphs 25, 29, 33. Further they
support Plaintiff’s claim that Defendant created a “hostile environment for attorneys,


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litigants and court employees.” See paragraph 27. Plaintiff addressed Chief Judge
Reader on many occasions regarding Defendant’s treatment of the attorneys and
litigants, which is protected activity. Finally, litigants routinely state why individual
defendants, in this case, Judge Cavanaugh, are sued and in what capacity.


                     THOSE THAT ARE NOT AFRAID OF BRENNAN
              27. Judge Reader is not afraid; while Chief Judge he struggled
                  mightily to remedy the hostile work environment created by
                  Brennan for attorneys, litigants and court employees, including
                  Plaintiff; in November 2017 he attempted to eliminate Brennan’s
                  docket and divide it up amongst the other Livingston County
                  judges, who enthusiastically supported the proposal.
              28. Thomas Kizer is not afraid; he has many times over the years
                  attempted to hold Brennan accountable for many violations of her
                  judicial oath; representing Brennan’s former husband in the
                  divorce, Kizer exposed conduct amounting to perjury, obstruction
                  of justice, witness intimidation and violations of the Judicial
                  Canons of Ethics.
                           PLAINTIFF’S PROTECTED ACTIVITY
              29. 53rd District Court Administrator Plaintiff Francine Zysk is
                  also not afraid; Plaintiff told the truth about Brennan’s judicial
                  and extra-curricular activities in a deposition on January 17, 2017,
                  which Brennan attended. (non-bolded language included for
                  context)
Basis for Request No. 4: Unrelated to case; repugnant language; not plain.
Rebuttal: These allegations are appropriate background information which makes
the rest of the complaint easier to understand.


              30 After her first deposition, Plaintiff learned that Brennan and her
                 paramour, MSP Lt. Sean Furlong, lied in their depositions about
                 the duration of their affair (it did not end in 2015, but extended
                 into 2016).
              31 Outraged by the dishonesty of these two pillars of the Livingston
                 County criminal justice system, Plaintiff contacted Kizer to inform
                 him of the duplicity.


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              32. Kizer again subpoenaed Plaintiff for a deposition on March
                  9,2017, which Brennan attended. (No request that this paragraph
                  be stricken but included for context.)
              33. In addition to confirming the duration of Brennan’s affair with
                  Furlong, Plaintiff testified that she was aware of an allegation to
                  the effect that Brennan had been observed intoxicated in her
                  chambers.
Basis for Request No. 5: Repugnant, superfluous and unrelated to case; no factual
basis; argumentative.
Rebuttal: Plaintiff testified to these facts in her depositions, which is the protected
activity in this case. Moreover, Defendant admitted in her deposition that Furlong
was her paramour and only contests the dates of the affair/relationship.


                         BRENNAN’S RETALIATORY CONDUCT
              34 Brennan disrupted the examination, blurting out “You are lying.
                 You’re such a liar.” (No request that this paragraph be stricken
                 but included for context.)
              35 This was the second time Brennan attempted to stifle unfavorable
                 deposition testimony; she interrupted paramour Furlong’s
                 deposition in an attempt to correct provable perjury:
                    Q: Okay. You would of, I’m assuming, had no contact with the
                       presiding judge, Theresa Brennan, during that trial [during
                       which he was the chief prosecution witness], would you?
                    A: I did not
                    Q. Okay. Did the two of you ever exchange any texts or phone
                       calls during that time?
                    A. No.
                    Q. You would be certain that you didn’t do that?
                    A. I am.
                    Q. Okay. Thank you.
                               JUDGE BRENNAN: We did once.
                               MR. KIZER: I don’t need to hear from you.
                               JUDGE BRENNAN: He’s forgetting.


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                               MR. KIZER: I’m very concerned, she can’t coach the
                                   witness. I want the record to reflect that she
                                   turned and tried to coach the witness.
                               JUDGE BRENNAN: I didn’t coach him. He’s
                                  forgetting.
                               BY MR. KIZER:
                    Q. You’re a bright guy. You recall your answer?
                    A. I don’t recall having any conversation.
              Furlong Dep. at 56.
              36. Unbeknownst to Brennan and paramour Furlong, Kizer was in
                  possession of telephone records which show extensive contact
                  between the two leading up to, during and after the trial.
Basis for Request No. 6: Unrelated, repugnant, superfluous and scandalous.
Rebuttal: These allegations show that Defendant twice used her position as a local
judge to intimidate participants at depositions in her divorce case (i.e. she acted
under color of law); they also demonstrate why Defendant was so angry at Plaintiff
for her testimony (she contradicted her and Furlong), making it more likely that she
would retaliate when Plaintiff testified contrary to her and Furlong.


              37. According to Brennan, all individuals that contradict her
                  statements about her infidelity, abuse of employees and
                  misconduct in office are liars; Brennan has repeatedly denigrated
                  on the record in unrelated proceedings Judge Reader, Plaintiff and
                  others that dared provide truthful testimony or information.
              38. Shortly after Plaintiff’s March 9, 2017 testimony Brennan filed a
                  false complaint against Plaintiff with the State Court
                  Administrative Office (“SCAO”) for reviewing Brennan’s divorce
                  file on County time; Plaintiff had reviewed the file to verify
                  Brennan’s perjury, but on her lunch hour. (non-bolded language
                  included for context)
              39. Judge Reader rightfully refused to impose any discipline.
Basis for Request No. 7: Superfluous, unrelated and repugnant.
Rebuttal: Proof of a defendant’s retaliatory tendencies is relevant and admissible.
Morris v. Washington Metropolitan Area Transit, 702 F.2d 1037 (1983); Jones v.
WMATA, 946 F. Supp. 1011 (D DC 1996) (“Evidence showing that the employer

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followed a broad practice of retaliation and responded to any protected criticism with
disciplinary action has some probative value on the issue of the employer’s like
motivation here.”) Coletti v. Cudd Pressure Control, 165 F.3d 767, 776 (10th Cir.
1999) (Defendant employer’s treatment of other employees is relevant to the issue
of employer’s discriminatory intent “if the testimony establishes a pattern of
retaliatory behavior or tends to discredit the employer’s assertion of legitimate
motives.”) Proof that Defendant retaliated against Plaintiff for verifying information
which caused her to engage in protected activity is relevant. Finally, that Judge
Reader did not discipline Plaintiff on account of Defendant’s complaint to SCAO is
relevant to the validity of Defendant’s complaint.


       PLAINTIFF ENGAGED IN FURTHER PROTECTED ACTIVITY ON
                      BEHALF OF EMPLOYEES
              42. As noted above, Brennan is a bully of epic proportions.
              43. Her bullying caused at least 18 employees to resign, seek medical
                  care or counselling or take medical leaves.
              44. Many Livingston County Sheriff’s deputies refused assignments
                  to the Brighton court where she presided.
              45. Plaintiff, on behalf of court employees, obtained and presented to
                  various County officials legal authority providing that the Courts
                  have the authority and obligation to stop Brennan’s bullying.
              46. In October 2017, then Chief Judge David Reader attempted to
                  remove and reassign Brennan’s docket to mitigate the disruption
                  to Court business caused by Brennan’s antics; Judges Geddis,
                  Carol Sue Reader and Hatty readily agreed to take on portions of
                  Brennan’s docket.
              47. Unfortunately, Judge David Reader was unable to effectuate the
                  removal and reassignment of Brennan’s docket.
Basis for Request No. 8: Mere conclusions and involve third parties; 43 & 45
unsupported by fact; repugnant.
Rebuttal: The existence of a hostile work environment makes it more likely that
Defendant retaliated. Woodson v. Scott Paper Co., 109 F.3d 913, 922-923 (3rd Cir.
1997). Moreover, Plaintiff is entitled to plead the basis for her protected activity –
complaints to management about the hostile environment for employees, attorneys
and litigants; Defendant will learn in discovery that in fact Plaintiff did obtain and



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present legal authority to County officials. The fact that Defendant’s colleagues
recognized the need to address the hostile environment confirms its existence.


              INTERFERENCE WITH COURT BUSINESS BY PLAINTIFF’S
              EX-HUSBAND GIVES LIVINGSTON COUNTY COURTS THE
                OPPORTUNITY TO RETALIATE AGAINST PLAINTIFF
              48. Plaintiff’s ex-husband, Johnnie Tyler II, is the Village of
                  Fowlerville Police Chief.
              49. Shortly after they were married Plaintiff discovered that Tyler used
                  illegal steroids, had pled guilty to assault and battery after being
                  charged with domestic assault, and was the subject of at least two
                  Child Protective Services complaints.
              50. Plaintiff then divorced Tyler who was not entirely receptive to the
                  idea, requiring Plaintiff to seek assistance from the Michigan State
                  Police and the Brighton Police Department to reinforce to Tyler
                  that he was to have no further contact with her.
              51. In August 2016 Sheriff Deputy and Fowlerville Councilperson
                  Everett Degrush, acting on behalf of the Village, requested an
                  interview with Plaintiff regarding Tyler’s fitness for the
                  Fowlerville Chief position.
              52. Plaintiff submitted to the interview and informed Degrush about
                  Tyler’s assault conviction and Child Protective Services
                  complaints, as well as his steroid use.
              53. Shortly thereafter, Tyler changed the venue of his stalking to
                  Plaintiff’s workplace, the Courts, where he exploited his
                  department’s business with the Court to continue his contact with
                  Plaintiff.
              54. To this end Tyler made bogus complaints to Plaintiff’s supervisor,
                  then Chief Judge David Reader; Judge Reader rebuffed Tyler’s
                  attempt to undermine Plaintiff.
              55. Despite doing her best to mollify Tyler, his continued disruption
                  of Court business proved too much to bear, both for Plaintiff and
                  Court personnel.
              56. Consequently, Plaintiff emailed Fowlerville officials, including
                  Tyler, requesting an end Tyler’s disruption of Court operations.


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              57. At about the same time, she posted on Facebook an article about
                  legislation designed to screen-out bad apples (such as Tyler) from
                  the law enforcement profession.
              58. Obviously embarrassed by Tyler’s antics, Fowlerville officials
                  attempted to stifle Plaintiff’s First Amendment right to speak out
                  on matters of public concern and filed a complaint against Plaintiff
                  with then Chief Judge Reader; Judge Reader’s response was to
                  initiate an independent investigation of Village officials’,
                  including Tyler’s, disruption of Court operations.
              59. Rather than holding accountable the vengeful, meddling ex-
                  husband stalker, Judge Cavanaugh disciplined Plaintiff in January
                  2018 by issuing her a written reprimand which threatened
                  termination for further attempts to resist Tyler’s inappropriate
                  behavior.
Basis for Request No. 9: Superfluous; do not say why Plaintiff entitled to relief; not
concise.
Rebuttal: Plaintiff has the right and obligation to set forth her claim of First
Amendment retaliation against Judge Cavanaugh. These allegations do that.


              60. On January 17, 2018, Brennan, still bitter at Plaintiff for her
                  protected activity, made a spectacle of herself at a Judge’s
                  meeting; when Plaintiff attempted to hand her a disqualification
                  folder, Brennan stated in a disdainful voice “I will not take
                  anything from you, I will never take anything from you, if you
                  need something you can give it to Judge Cavanaugh and she can
                  give it to me.”
              61. After Judge Cavanaugh joined the meeting, Brennan, her voice
                  still dripping with venom, reiterated “I will never open an email
                  from Francine, I will never take anything from Francine, I will
                  never have any interaction from Francine, I have told that to SCAO
                  and Judge Cavanaugh.”
              62. Brennan’s colleagues were stunned and appalled – except for
                  Judge Cavanaugh who merely reminded all present that they
                  needed to be professional.




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              63. Judge Cavanaugh indulges Brennan’s juvenile refusal to
                  communicate with Plaintiff regarding court business; this creates
                  more work for everyone.
              64. Unfortunately, to this day, Judge Cavanaugh and most of the
                  Court’s personnel walk on eggshells around Brennan for fear of
                  incurring her wrath.
              65. Brennan antics disrupt Court operations and in particular interfere
                  with Plaintiff’s ability to do her job.
Basis for Relief No. 10: Repugnant, superfluous, unrelated; 63-65 are conclusions
unsupported by fact; not concise.
Rebuttal: These allegations relate to (1) one of Defendant’s adverse actions against
Plaintiff; (2) Judge Cavanaugh’s indulgence of same, much to the chagrin of her
colleagues who will testify in support of Plaintiff and (3) the harm to Plaintiff and
her subordinates caused by Defendant’s actions.


                                          COUNT I
                   First Amendment Retaliation in Violation of 42 U.S.C. § 1983
                                     (Against Brennan)
              67. Plaintiff engaged in protected activity under the First Amendment
                  by speaking as a citizen on matters of public concern, i.e.
                  Brennan’s dishonesty, perjury, scandalous behavior, bullying
                  of employees and disruption of court operations. (non-bolded
                  language included for context)
              70. Brennan’s retaliatory conduct has the purpose and effect of
                  broadcasting to the entire court system that she has the power to
                  injure, intimidate and cause job insecurity.
                                         COUNT III
                   First Amendment Retaliation in Violation of 42 U.S.C. § 1983
                                 (Against Judge Cavanaugh)
              82. Plaintiff engaged in protected activity under the First Amendment
                  by speaking as a citizen on matters of public concern, i.e.
                  Brennan’s dishonesty, perjury, scandalous behavior, bullying
                  of employees and disruption of court operations and Tyler’s
                  lack of fitness for public office. (non-bolded language included
                  for context)
                                    *              *            *

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              84. Judge Cavanaugh has retaliated against Plaintiff by:
                   a. acquiescing in Brennan’s behavior described above; and
                   b. improperly reprimanding her for attempting to end the
                      disruption to Court operations caused by Village of Fowlerville
                      officials, including Tyler, even though:
                       i. then Chief Judge Reader determined that Fowlerville
                          officials should have been the subject of investigation, not
                          Plaintiff;
                       ii. Plaintiff had the right to speak out on a matter of public
                           concern regarding Tyler’s fitness (or lack thereof) to hold
                           public office; and
                      iii. Judge Cavanaugh knew that Fowlerville Officials only
                           complained about Plaintiff because she told the truth about
                           his conviction for assault, Child Protective Services charges,
                           and steroid use. (non-bolded language included for context)
Basis for Request No. 11: “Do not state concisely how Plaintiff is entitled to her
claims;” repugnant, superfluous.
Rebuttal: These allegations relate to (1) whether Plaintiff’s testimony was a matter
of public concern, (2) Defendant’s liability for punitive damages and (3) the specious
basis for the reprimand which is one of the adverse actions alleged in the complaint.




Basis for Request No. 12: Exhibit A reference letters extolling Plaintiff’s
performance superfluous and unrelated to claims or damages.
Rebuttal: That Defendant would treat so poorly such a valuable employee makes it
more likely that the adverse actions were based on an illegal factor – Plaintiff’s
protected activity. The letters will also undermine Defendant’s anticipated claim that
Plaintiff is complaining because she is a disgruntled employee.




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IV.           Conclusion
              Defendant’s brief is heavily laden with references to her status “as a judge,” a

“sitting Michigan District Judge,” “her reputation as a judge,” and her “judicial

position.” Plaintiff submits such references are a thinly veiled attempt to gain an

advantage because of that status. Defendant is entitled to no special treatment on

account of her status as a judge. Her motion should be denied in its entirety.



                                               Respectfully submitted,

                                               /s/ James K. Fett
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Dated: April 12, 2018                          Attorneys for Plaintiff

                                  Affidavit of Mailing
I hereby certify that on April 12, 2018, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system which will send notification of such filing
to the following: T. Joseph Seward and Thomas L. Fleury.

                                               /s/ James K. Fett
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